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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                   )
    PETER P. STRZOK,                               )
                                                   )
                  Plaintiff,                       )
                                                   )      Civil Action No. 19-2367 (ABJ)
           v.                                      )
                                                   )
    ATTORNEY GENERAL MERRICK B.                    )
    GARLAND, in his official capacity, et al.,     )
                                                   )
                  Defendants.                      )
                                                   )
                                                   )
                                                   )
    LISA PAGE,                                     )
                                                   )
                  Plaintiff,                       )
                                                   )      Civil Action No. 19-3675 (TSC)
           v.                                      )
                                                   )
    U.S. DEPARTMENT OF JUSTICE, et al.,            )
                                                   )
                  Defendants.                      )
                                                   )

                                    JOINT STATUS REPORT

          Pursuant to the Court’s Orders of November 21, 2023 (ECF No. 122), February 20, 2024,

March 18, 2024, April 8, 2024, April 29, 2024, and May 6, 2024, these cases have been stayed

while the parties have been engaged in mediation with the Court’s Mediation Program.1 To date,

the parties have been unable to resolve these cases, and the mediation will close as scheduled

today.


1
 The parties in Civil Action No. 19-2367 (ABJ) are Plaintiff Peter Strzok and Defendants U.S.
Department of Justice (“DOJ”); Federal Bureau of Investigation (“FBI”); Attorney General
Merrick Garland, in his official capacity; and FBI Director Christopher A. Wray, in his official
capacity. The parties in Civil Action No. 19-3675 (TSC) are Plaintiff Lisa Page and Defendants
DOJ and FBI.
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       Consistent with the Court’s pre-mediation Minute Order of October 23, 2023, the parties

respectfully request that the Court direct the parties file a further Joint Status Report by May 20,

2024, setting forth their positions on (1) whether the cases should remain consolidated and (2) next

steps in the litigation, including a proposed summary judgment briefing schedule.


Dated: May 13, 2024                           Respectfully submitted,

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